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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

   STATE OF NEBRASKA,
   STATE OF MISSOURI,
   STATE OF ARKANSAS,
   STATE OF IOWA,
   STATE OF KANSAS, and
   STATE OF SOUTH CAROLINA,                           No. 4:22-cv-01040

                   Plaintiffs,

      v.

   JOSEPH R. BIDEN, Jr.,
   in his official capacity as the President of
   the United States of America;

   MIGUEL CARDONA, in his official
   capacity as Secretary, United States
   Department of Education; and

   UNITED STATES DEPARTMENT OF
   EDUCATION,

                   Defendants.

                                     PARTY STIPULATION

       Plaintiff States and Defendants have entered into the following stipulation:

       Provided that the Court accepts the proposed expedited schedule for resolving Plaintiffs’

motion for preliminary injunction outlined below, Plaintiffs agree to withdraw their pending

motion for temporary restraining order (1) in reliance on Defendants’ representation that

Defendants will not discharge any student loan debt pursuant to the policy challenged in this case

before October 17, 2022, and (2) Defendants’ agreement to file their response to Plaintiffs’ motion

for preliminary injunction by October 7, 2022, and to appear for a hearing on the motion for

preliminary injunction during the week of October 10, 2022 (if the Court desires a hearing).

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Should the Court reject the schedule proposed below, Plaintiffs want to proceed with the motion

for a temporary restraining order. Plaintiffs also clarify that by entering this stipulation, they are

not waiving their right to refile a motion for temporary restraining order if changed circumstances

necessitate it.

        The parties propose the following expedited schedule for resolving Plaintiffs’ motion for

preliminary injunction:

           Defendants’ response is due Friday October 7.

           Plaintiffs’ reply is due Tuesday October 11.

           If the Court desires oral argument, it will schedule a hearing on Wednesday October

            12. At such a hearing, the parties anticipate submitting oral argument based on their

            written submissions only and not presenting witnesses.

        Plaintiffs also request that the Court issue a ruling on their motion for preliminary

injunction by Thursday October 13. If the Court accepts this stipulation, the parties request that

the Court enter an order cancelling the October 4 hearing on Plaintiffs’ motion for temporary

restraining order and setting a schedule for resolving Plaintiffs’ motion for preliminary injunction

in accord with the parties’ proposed schedule, above.




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Dated: September 30, 2022                     Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on September 30, 2022, a true and correct copy of the foregoing and

any attachments were filed electronically through the Court’s CM/ECF system, to be served on

counsel for all parties by operation of the Court’s electronic filing system for all parties who have

appeared and to be served on those parties who have not appeared in accordance with the Federal

Rules of Civil Procedure or other means agreed to by the parties.

                                                      /s/ James A. Campbell
                                                      James A. Campbell




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